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7114/2022
IN THE UNITED STATES DISTRICT COURT 5G. ABUT ON yar
FOR THE NORTHERN DISTRICT OF ILLINOIS. Ji Q) sR FIET COUR
EASTERN DIVISION

MARK D. MCDANIEL, M.D.,
Plaintiff,
Case No. 13-cv-6500

VS.

LOYOLA UNIVERSITY MEDICAL
CENTER, e/al.,

Judge Robert M. Dow, Jr.

Defendants.

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JURY INSTRUCTIONS

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Members of the jury, you have seen and heard all the evidence and arguments of the
attorneys. Now | will instruct you on the law.

You have two duties as a jury. Your first duty is to decide the facts from the evidence in
the case. This is your job, and yours alone.

Your second duty is to apply the law that I give you to the facts. You must follow these
instructions, even if you disagree with them. Each of the instructions is important, and you must
follow all of them.

Perform these duties fairly and impartially. Do not allow sympathy or public opinion to
influence you.

Nothing I say now, and nothing I said or did during the trial, is meant to indicate any

opinion on my part about what the facts are or about what your verdict shouldbe.
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During this trial, | may have asked a witness a question myself. Do not assume that
because I asked questions I hold any opinion on the matters | asked about, or on what the

outcome of the case should be.
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The evidence consists of the testimony of the witnesses and the exhibits admitted in

evidence.
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During the trial, certain testimony was presented to you by the reading of depositions and
video. You should give this testimony the same consideration you would give it had the

witnesses appeared and testified here in court.
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Certain things are not to be considered as evidence. | will list them for you:

First, if I told you to disregard any testimony or exhibits, or struck any testimony or
exhibits from the record, such testimony or exhibits are not evidence and must not be considered.

Second, anything that you may have seen or heard outside the courtroom is not evidence
and must be entirely disregarded.

Third, questions and objections or comments by the lawyers are not evidence. Lawyers
have a duty to object when they believe a question is improper. You should not be influenced by
any objection, and you should not infer from my rulings that | have any view as to how you
should decide the case.

Fourth, the lawyers’ opening statements and closing arguments to you are not evidence.
Their purpose is to discuss the issues and the evidence. If the evidence as youremember it differs

from what the lawyers said, your memory is what counts.
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Any notes you have taken during this trial are only aids to your memory. The notes are

not evidence. If you have not taken notes, you should rely on your independent recollection of
the evidence and not be unduly influenced by the notes of other jurors. Notes are not entitled to

any greater weight than the recollections or impressions of each juror about the testimony.
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In determining whether any fact has been proved, you should consider all of the evidence

bearing on the question regardless of who introduced it.
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You will recall that during the course of this trial | instructed you that | admitted certain

evidence for a limited purpose. You must consider this evidence only for the limited purpose for

which it was admitted.

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You should use common sense in weighing the evidence and consider the evidence in
light of your own observations in life.

In our lives, we often look at one fact and conclude from it that another fact exists. In law
we call this “inference.” A jury is allowed to make reasonable inferences. Any inference you

make must be reasonable and must be based on the evidence in the case.

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You may have heard the phrases “direct evidence” and “circumstantial evidence.” Direct

evidence is proof that does not require an inference, suchas the testimony of someone who
claims to have personal knowledge of a fact. Circumstantial evidence is proof of a fact, ora
series of facts, that tends to show that some other fact is true.

As an example, direct evidence that it is raining is testimony from a witness who says, “I

was outside a minute ago and I saw it raining.” Circumstantial evidence that it is raining is the

observation of someone entering a room carrying a wet umbrella.

The law makes no distinction between the weight to be given to either direct or

circumstantial evidence. You should decide how much weight to give to any evidence. In

reaching your verdict, you should consider all the evidence in the case, including the

circumstantial evidence.

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You must decide whether the testimony of each of the witnesses is truthful and accurate,
in part, in whole, or not at all. You also must decide what weight, if any, you give to the
testimony of each witness.

In evaluating the testimony of any witness, including any of the parties to the case, you
may consider, among other things:

e the ability and opportunity the witness had to see, hear, or know the things that the
witness testified about;

e the witness’s memory;

e any interest, bias, or prejudice the witness may have;

e the witness’s intelligence;

e the manner of the witness while testifying;

e and the reasonableness of the witness’s testimony in light of all the evidence in the case.

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You may consider statements given by a Party or a Witness under oath before trial as
evidence of the truth of what he said in the earlier statements, as well as in deciding what weight
to give his testimony.

With respect to other witnesses, the law is different. If you decide that, before the trial,
one of these witnesses made a statement not under oath or acted in a manner that is inconsistent
with his testimony here in court, you may consider the earlier statement or conduct only in
deciding whether his testimony here in court was true and what weight to give to his testimony
here in court.

In considering prior inconsistent statements or conduct, you should consider whether it
was simply an innocent error or an intentional falsehood and whether it concerns an important

fact or an unimportant detail.

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You may find the testimony of one witness or a few witnesses more persuasive than the

testimony of a larger number. Youneed not accept the testimony of the larger number of

witnesses.

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The law does not require any party to call as a witness every person who might have

knowledge of the facts related to this trial. Similarly, the law does not require any party to present

as exhibits all papers and things mentioned during this trial.

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You have heard witnesses, Dr. Stan Smith and Mr. William Metzdorff, give opinions
about matters requiring special knowledge or skill. You should judge this testimony in the same
way that you judge the testimony of any other witness. The fact that such person has given an
opinion does not mean that you are required to accept it. Give the testimony whatever weight
you think it deserves, considering the reasons given for the opinion, the witness’s qualifications,

and all of the other evidence in the case.

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You must give separate consideration to each claim and each party in this case. Although

there are five defendants, it does not follow that if one is liable, any of the others is also liable.

In considering a claim against a defendant, you must not consider evidence admitted only

against other defendants or only as to other claims.

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When I say a particular party must prove something by “a preponderance of the
evidence,” or when | use the expression “if you find,” or “if you decide,” this is what I mean:
When you have considered all the evidence in the case, you must be persuaded that it is more

probably true than not true.

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In this case Defendants Loyola University Medical Center, Loyola University Health
System, and Loyola University of Chicago are corporations. Defendants Dr. William Hopkinson,
Dr. Terry Light, and Plaintiff Dr. Mark McDaniel are all individuals. All parties are equal before

the law.
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In this case, Plaintiff Mark D. McDaniel, M.D. brings five claims.

First, Dr. McDaniel claims that Defendants Loyola University Medical Center, Loyola
University Health System, and Loyola University of Chicago (which I will call the “Loyola
Defendants”) and Defendant William Hopkinson, M.D., placed him on probation and terminated
his employment on account of his uniformed service, including his exercise of rights under the
Uniformed Services Employment and Reemployment Rights Act (“USERRA”), in violation of
USERRA.

Second, Dr. McDaniel claims that the Loyola Defendants and Dr. Hopkinson created a
hostile or abusive work environment on account of his uniformed service in violation of USERRA.

Third, Dr. McDaniel claims that, in terminating his employment, Defendant Loyola
University Medical Center and Defendant Loyola Health System breached a contract with him.

Fourth, Dr. McDaniel claims that Dr. Terry Light defamed him.

Fifth, Dr. McDaniel claims that Dr. William Hopkinson defamed him.

Defendants deny all five claims.

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Dr. McDaniel’s first claim is under a federal law called the Uniform Services
Employment and Reemployment Rights Act, also called USERRA. USERRA prohibits an
employer from discriminating against an employee in the terms and conditions of the employee’s
employment because of the employee’s military service.

USERRA does not require a service member to ask for or get his employer’s permission
to perform service in the armed services. USERRA requires only that a service member give
notice to his employer of his intention to leave his employment position to perform service in the
armed services. The notice the service member gives can be either verbal or written; it can be
informal and need not follow any particular format. Although USERRA does not specify how far
in advance notice must be given to the employer, an employee should provide notice as far in
advance as is reasonable under the circumstances. The Defense Department strongly
recommends that advance notice to civilian employers be provided at least 30 days prior to
departure for uniformed service when it is feasible to do so.

Dr. McDaniel claims that Defendants Loyola University Medical Center, Loyola
University Health System, Loyola University of Chicago (which will refer to together as “the
Loyola Defendants”) and Dr. Hopkinson discriminated against him by placing him on probation
and terminating his employment on account of his uniformed service, including because he
performed uniformed service in the Missouri Air National Guard, which is a uniformed service
under USERRA, and his exercise of rights under USERRA.

Loyola Defendants and Dr. Hopkinson deny Dr. McDaniel’s USERRA discrimination
claim and assert that Dr. McDaniel was placed on probation and terminated for unprofessional
and unethical behavior, failure to demonstrate substantial improvement while on academic
probation, being absent froma duty assignment without departmental consent, and falsifying

surgical logs.

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To succeed on this USERRA claim, Dr. McDaniel must prove each of the following facts
by a preponderance of the evidence:

1. Dr. McDaniel performed service in a uniformed service;

2. The Loyola Defendants and Dr. Hopkinson placed Dr. McDaniel on probation

and/or terminated Dr. McDaniel’s residency; and

3. Dr. McDaniel’s uniformed service, which includes his exercise of rights under

USERRA, was a “motivating factor” that prompted the Loyola Defendants and
Dr. Hopkinson to take either of those actions.

If you find that Dr. McDaniel has failed to prove any of these things by a preponderance
of the evidence, then your verdict should be forthe Defendants. If, however, you find that Dr.
McDaniel has proved each of the things required of him by a preponderance of the evidence, you
must then consider the Defendants’ argument that they would have placed Dr. McDaniel on
probation and terminated him even if they had not taken Dr. McDaniel’s service in a uniformed
service into account. If you find that the Defendants proved by a preponderance of the evidence
that they would have placed Dr. McDaniel on probation and terminated him for reasons other than
his service in a uniformed service, then your verdict should be for the Defendants. If the
Defendants have not proved this by a preponderance of the evidence, then your verdict should be

for Dr. McDaniel.

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To prove that Plaintiff Dr. McDaniel’s uniformed service, which includes his exercise of
rights under USERRA, was a “motivating factor” in the Loyola Defendants’ and Dr. Hopkinson’s
decisions to place him on probation and/or terminate him, Plaintiff does not have to prove that his
service was the only reason that Defendants placed him on probation and/or terminated him. It is
enough if Plaintiff Dr. McDaniel proves that his uniformed service, which includes his exercise of
rights under USERRA, contributed to the Loyola Defendants’ and Dr. Hopkinson’s decisions. If
Dr. McDaniel’s uniformed service made a difference in either of Loyola Defendants’ or Dr.

Hopkinson’s decisions, you may find that it was a motivating factor in the decision.

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An employer may not take an adverse action against an employee, like placing the
employee on probation and/or terminating the employee, because of the employee’s uniformed
service, which includes his exercise of rights under USERRA. But an employer may place an
employee on probation and/or terminate him for any other reason, good, or bad, fair, or unfair. If
you believe the Loyola Defendants’ and Dr. Hopkinson’s reasons for the decision to place Dr.
McDaniel on probation and/or terminate him and find that the decisions were not motivated by
Plaintiff Dr. McDaniel’s uniformed service, you must not second guess Defendants’ decisions, and
you must not substitute your own judgment for Defendants’ judgment—even if you do not agree

with it.

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The military orders issued by the Missouri Air National Guard to Plaintiff Dr. Mark

McDaniel in 2012 must be accepted as valid.

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Dr. McDaniel’s second claim is that the Loyola Defendants and Dr. Hopkinson created a

hostile or abusive work environment on account of Dr. McDaniel’s membership in a uniformed

service. To succeed on this claim, Dr. McDaniel must prove each of the following seven things by

a preponderance of the evidence:

l.

Dr. McDaniel was subjected to derogatory comments, name calling and
unflattering impersonations,

The conduct was unwelcome;

The conduct occurred because Dr. McDaniel was a member of a
uniformed service;

The conduct was sufficiently severe or pervasive that a reasonable person
in Dr. McDaniel’s position would find Dr. McDaniel’s work environment
to be hostile or abusive;

At the time the conduct occurred, Dr. McDaniel believed that the conduct
made his work environment hostile or abusive;

The Loyola Defendants and Dr. Hopkinson knew or should have known
about the conduct; and

The Loyola Defendants and Dr. Hopkinson did not take reasonable steps
to correct the situation or prevent harassment from recurring.

If you find that Dr. McDaniel has proved by a preponderance of the evidence each of the

seven things required of him, you must find for Dr. McDaniel. However, if you find that Dr.

McDaniel did not prove by a preponderance of the evidence each of the things required of him,

you must find for Defendants.

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If you find that Dr. McDaniel has proved one or both of his USERRA claims against the
Loyola Defendants and Dr. Hopkinson, you will not consider the question of damages as to that
claim. Damages for violations of USERRA are determined by the Court. Your only job with
respect to Dr. McDaniel’s USERRA claims is to determine the issue of liability.

However, if you find that Dr. McDaniel has proved one or both of his USERRA claims
against the Loyola Defendants and Dr. Hopkinson, then you also must decide whether Defendants
“willfully” violated the law. If the Loyola Defendants or Dr. Hopkinson knew the decisions to
place Dr. McDaniel on probation, or terminate his employment violated the law, or acted in
reckless disregard of that fact, or if Defendants knew or should have known the harassing conduct
was severe or pervasive enough to alter the conditions of Plaintiff’s employment and created a
hostile or abusive atmosphere, or acted in reckless disregard of that fact, but still did not take
reasonable steps to correct the situation or prevent harassment from recurring, then their conduct
was willful. If Defendants did not know or knew only that the law was potentially applicable and
did not act in reckless disregard as to whether their conduct was prohibited by the law, then the

Defendants’ conduct was not willful.

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Dr. McDaniel’s third claim is that Defendants Loyola University Medical Center (which |
will call “LUMC”) and Loyola University Health System (which I will call “LUHS”) and which,
together, I will call “the Loyola Defendants” breached the Graduate Medical Education agreement
with him in two ways: (1) by failing to abide by the Resident Handbook’s grievance procedure
requirement to hold his probation grievance hearing within 45 days after his request for a hearing;
and (2) by not following the Resident Handbook’s other grievance procedures. To succeed on his
breach of contract claim, Dr. McDaniel has the burden of proving each of the following four things
by a preponderance of the evidence:

1. The existence of a contract between Dr. McDaniel and LUMC and LUHS;

2. Dr. McDaniel substantially performed his contractual obligations;

3. Defendants LUMC and LUHS failed to perform their obligations under the

contract; and

4, Resulting damage to Dr. McDaniel.

If you find from your consideration of all the evidence that one or more of these elements
has not been proven for both claimed breaches, you must find in favor of Defendants LUMC and
LUHS.

With respect to Dr. McDaniel’s claims that the Loyola Defendants breached the Resident
Handbook’s other grievance procedures, if you find from your consideration of all the evidence
that each of the above elements has been proven, then you must find in favor of Dr. McDaniel and
consider the amount of damages to be awarded.

With respect to Dr. McDaniel’s claim that the Loyola Defendants failed to hold his
probation grievance hearing within 45 days of his request for a hearing, if you find from your

consideration that each of the above elements has been proven, then you must consider the Loyola

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Defendant’s claim of an “affirmative defense,” that Dr. McDaniel “waived” that breach. The
Loyola Defendants’ affirmative defense does not apply to Dr. McDaniel’s claims relating to the
other grievance procedures.

Only as to the portion of Dr. McDaniel’s breach of contract claim concerning the failure to
hold the probation grievance hearing within 45 days of his request for such hearing, the Loyola
Defendants contend that Dr. McDaniel “waived” that breach by agreeing that the hearing could go
forward outside of the 45-day period.

To prove this “affirmative defense,” the Loyola Defendants must prove by a preponderance
of the evidence that Dr. McDaniel knew he had the right to have a probation grievance hearing
within 45 days of his request forthe hearing and that he intentionally relinquished that known
right. Dr. McDaniel denies this affirmative defense.

If the Loyola Defendants prove their affirmative defense, then they are relieved of their
obligation under the contract to have conducted the probation grievance hearing within 45 days of
Dr. McDaniel’s grievance, and you must find in favorofthe Loyola Defendants on that component
(and only that component) of Dr. McDaniel’s breach of contract claim. If you find that Dr.
McDaniel has proven all the elements of his claim, and the Loyola Defendants have not proven
their affirmative defense, you must find in favor of Dr. McDaniel on that claim for breach of

contract, and consider the amount of damages to be awarded.

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If you find in favor of Dr. McDaniel on his breach of contract claim as to either or both
claimed breaches, you must then decide how much money, if any, would fairly compensate Dr.
McDaniel for the Loyola Defendants’ breach of contract. Dr. McDaniel has the burden of proving
each element of damages claimed and that they occurredasa direct and natural result of the Loyola
Defendants’ breach. In calculating Dr. McDaniel’s damages, you should determine that sum of
money that will put Dr. McDaniel in as good a position as he would have been in if Dr. McDaniel

and the Loyola Defendants had performed all of their promises under the contract.

Dr. McDaniel seeks an award of several different categories of contract damages.

1. Direct damages for the Loyola Defendants not following the grievance
procedure in the Resident Handbook. Direct Damages are the amount of
gain Dr. McDaniel would have received if the Loyola Defendants had fully
performed the contract. You calculate the amount of this gain by
determining the value of the contract benefits Dr. McDaniel did not receive
because of the breach and then subtracting from that value, the amount you
calculate the value of whatever expenses Dr. McDaniel saved because of
the breach.

2. Special damages for the Loyola Defendants not following the grievance
procedure in the Resident Handbook. Special damages are different from
direct damages. Dr. McDaniel must prove these damages were reasonably
foreseeable by the parties when they entered into the contract.

3. Incidental damages for the Loyola Defendants not following the grievance
procedure in the Resident Handbook. Incidental damages are different from

direct and special damages. “Incidental Damages” are costs that were

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reasonably spent either in responding to the Loyola Defendants’ breach of

the contract or in securing the benefits the Loyola Defendants were to have

provided.

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The law provides a party cannot recover damages he could have prevented by exercising
ordinary care and diligence when he learned or should have learned of the breach.

The Loyola Defendants argue that Plaintiff Dr. McDaniel’s claim for lost wages and
benefits should be reduced by the amount Dr. McDaniel reasonably would have earned during the
period for which youaward damages, if any.

The burden is on the Loyola Defendants to prove Plaintiff Dr. McDaniel failed to minimize
his damages and that the damages should be reduced by a particular amount as a result.

In this case, the Loyola Defendants claim and have the burden of proving that, with
reasonable efforts and ordinary care, Dr. McDaniel could have avoided some losses in whole or in
part, such as that Dr. McDaniel reasonably might have found comparable employment, even
though his losses originally resulted from the Loyola Defendants’ failure to keep its promise.

If the Loyola Defendants prove that Dr. McDaniel could haveavoided some losses in whole
or in part, such as by finding comparable employment with reasonable efforts and ordinary care,
you may not require the Loyola Defendants to pay the amount Dr. McDaniel could reasonably
have avoided and you must subtract any suchamount from the amount of damages youhave found.

If you find Dr. McDaniel incurred costs in making a reasonable effort to avoid such losses,

you must make an award to Dr. McDaniel for such costs.

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Dr. McDaniel’s fourth claim is against Dr. Light for defamation and his fifth claim is
against Dr. Hopkinson for defamation. Dr. McDaniel contends that Dr. Light made the following
statements: (1) Dr. Light told the probation grievance panel that Dr. McDaniel was the source of
a citation from the Accreditation Council for Graduate Medical Education (the “ACGME”) against
Loyola University Medical Center’s Orthopedic Surgery Residency Program; and (2) Dr. Light
told Dr. Yaszemski of the Mayo Clinic that one of Dr. McDaniel’s co-residents was “physically
afraid” of Dr. McDaniel. Dr. McDaniel contends that Dr. Hopkinson told the termination
grievance panel at Loyola University Medical Center that Dr. McDaniel failed his medical board
examinations. Dr. McDaniel contends that all of these statements are defamatory.

Defendants Dr. Light and Dr. Hopkinson deny that they defamed Dr. McDaniel.
Defendants Dr. Light and Dr. Hopkinson also deny that any claimed act was a cause of damages
claimed by Dr. McDaniel. Finally, Defendants Dr. Light and Dr. Hopkinson also deny that Dr.

McDaniel sustained damages.

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To succeed on his defamation claim against Dr. Light about the statement to the probation

grievance panel concerning the ACGME citation and his statement to Dr. Yaszemski that one of

Dr. McDaniel’s co-residents was “physically afraid” of him, or on his claim against Dr. Hopkinson

about the statement to the termination grievance panel, Dr. McDaniel has the burden of proving

by a preponderance of the evidence:

1. Defendant made a false statement about Plaintiff Dr. McDaniel;
2. Defendant made an unprivileged publication of that statement to a third party; and
3. The publication caused damages to Dr. McDaniel, unless you determine that

Defendant’s statement(s) were actionable “per se.”
If you find from your consideration of all the evidence that Dr. McDaniel has failed to
prove any one of the propositions required, then your verdict should be for Defendants.
If you find from your consideration of all the evidence that Dr. McDaniel has proved each
of the propositions required, then you must consider whether Defendants abused their “qualified
privilege.” If you find that Dr. McDaniel has proved Defendants abused their “qualified privilege,”

then the verdict should be for Dr. McDaniel.

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A statement is considered a defamatory statement if it harms a person’s reputation to the
extent it lowers the person in the eyes of the community or deters the community from associating

with her or him.

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A statement may be defamatory only if it is false.

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“Publication” means that a third party saw, read or heard the statement involved in this
case. As longas the statement was published to a third party, it need not have been published to

Dr. McDaniel.

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In regard to element two of Dr. McDaniel’s defamation claims, the Court has determined,
and now instructs you as a matter of law, that Dr. Light had a “qualified privilege” to make the
statement about the citation from the ACGME to the probation grievance hearing and to make
the statement about Dr. McDaniel’s co-resident to Dr. Yaszemski. The Court has also
determined, and now instructs youas a matter of law, that Dr. Hopkinson had a “qualified
privilege” to make his statement at the termination grievance hearing.

However, Dr. Light and Dr. Hopkinson lose the benefit of this privilege if you find that
they abused it.

Dr. Light and Dr. Hopkinson abused the privilege if you find that Plaintiff has proven by a
preponderance of the evidence that the Defendant you are considering intentionally published the
material:

1. Knowing the statements were false; or
2. Despite a high degree of awareness that the statements were false; or
3. Despite entertaining serious doubts as to their truth, and then failing to properly

investigate the truth.

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A defamatory statement is actionable “per se” if you find that Defendant’s statement(s)
(a) impute an inability to perform or want of integrity in Dr. McDaniel’s performance of his
employment duties, or (b) prejudice Dr. McDaniel, or impute lack of ability in his profession.

If you find a statement actionable “per se,” damages are presumed, meaning Dr.
McDaniel does not need to prove actual damage to his reputation to recover.

If you do not find the statements actionable “per se,” you need to make a separate finding

that the statement caused damages to Dr. McDanicl.

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A statement is a cause of damages only if it contributes substantially to producing such

damages.

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In the event that you find that any of the Defendants’ statements either (a) imputes an

inability to perform or want of integrity in Dr. McDaniel’s performance of his employment duties,

or (b) prejudices Dr. McDaniel or imputes a lack of ability in his profession, then the statement is

actionable “per se,” and Dr. McDaniel is entitled to recover the following categories of damages

without any proof of actual or pecuniary injury, as damages are presumed:

1. Economic loss;

2. Mental suffering and resulting bodily harm;

3. Personal humiliation; or

4, Impairment of his personal and professional reputation and standing in the
community.

If you find in favor of Plaintiff on his defamation claim against cither Defendants Dr. Light
or Dr. Hopkinson, but do not find the statement in question is actionable “per se,” then you must
then fix the amount of money which will reasonably and fairly compensate Dr. McDaniel for any
of the above categories of damages proved by the evidence to have resulted from the wrongful

conduct.

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If you find in favor of Plaintiff Dr. McDaniel on either his defamation claims against
Defendants Dr. Light or Dr. Hopkinson, in addition to compensatory damages, the law permits
you under certain circumstances to award punitive damages. If you find that Defendant’s conduct
was willful and wanton and proximately caused damage to Dr. McDaniel, and if you believe that
justice and the public good require it, you may award an amount of money that will punish the
Defendant(s) and discourage them and others from similar conduct.

In arriving at your decision as to the amount of punitive damages, you should consider the
following three questions. The first question is the most important to determine the amount of
punitive damages:

1. How reprehensible was Defendant’s conduct? On this subject, you should consider
the following: (a) the facts and circumstances of Defendant’s conduct; (b) any vulnerability of
Plaintiff; (c) the duration of the misconduct; (d) the frequency of Defendant’s misconduct; (e)
whether the harm was physical as opposed to economic; and (f) whether Defendant tried to conceal
the misconduct;

2. What actual and potential harm did Defendant’s conduct cause to Plaintiff in this
case?

3. What amount of money is necessary to punish Defendant and discourage him and
others from future wrongful conduct?

The amount of punitive damages must be reasonable and in proportion to the actual and

potential harm suffered by Plaintiff.

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Upon retiring to the jury room, you must select a presiding juror. The presiding juror will

preside over your deliberations and will be your representative here in court.

A verdict form has been prepared for you.

[Verdict form read]

Take this form to the jury room, and when you have reached unanimous agreement on the

verdict, your presiding juror will fill in and date the appropriate form, and all of you will sign it.

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I do not anticipate that you will need to communicate with me. If you do need to
communicate with me, the only proper way is in writing. The writing must be signed by the
presiding juror, or, if he or she is unwilling to do so, by some other juror. The writing should be
given to the marshal, who will give it to me. I will respond either in writing or by having you

return to the courtroom so that I can respond orally.

If you do communicate with me, you should not indicate in your note what your

numerical division (for example, 5-4 or 7-2) is, if any.

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The verdict must represent the considered judgment of each juror. Your verdict, whether
for or against the parties, must be unanimous.

You should make every reasonable effort to reach a verdict. In doing so, you should
consult with one another, express your own views, and listen to the opinions of your fellow
jurors. Discuss your differences with an open mind. Do not hesitate to reexamine your own
views and change your opinion if you come to believe it is wrong. But you should not surrender
your honest beliefs about the weight or effect of evidence solely because of the opinions of other
jurors or for the purpose of returning a unanimous verdict.

All of you should give fair and equal consideration to all the evidence and deliberate with

the goal of reaching an agreement that is consistent with the individual judgment of each juror.

You are impartial judges of the facts.

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